      Case: 3:17-cv-00737-wmc Document #: 16 Filed: 01/30/18 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN

ESTATE OF DANTE WILSON,
by its Special Administrator,
Judy Wilson
                                             COMPLAINT
                                             Case No. 17 CV 737

            Plaintiff,

      and

Cashe Smith,
Dante Wilson, Jr.,
Dantecia Wilson,
Kejuan Hill,
Nateisha Smith,
Sasha Reed,

            Plaintiff-Intervenors

v.

ADVANCED CORRECTIONAL HEALTHCARE, INC., and
KIM A. BEEDE, individually

            Defendants.


                  Plaintiff-Intervenors’ Complaint in Intervention


      Plaintiff-Intervenors, through their undersigned attorneys, and as for a cause

of action against the above-named Defendants, state the following:

                                I.    Introduction

      1.    This is a wrongful death action brought pursuant to Wis. Stat. §

895.04, by the descendants of Dante Wilson. Dante Wilson died as a result of the
      Case: 3:17-cv-00737-wmc Document #: 16 Filed: 01/30/18 Page 2 of 4




defendants’ deliberate indifference to and reckless neglect of a known serious

medical need.

      2.     Judy Wilson, the Special Administrator of the Estate of Dante Wilson,

filed suit against the above-named defendants on September 25, 2017. Dkt. 1.

                                      II.      Jurisdiction

      3.     This action originally arose under 42 U.S.C. § 1983, via the complaint

filed by Special Administrator Judy Wilson, on behalf of the Estate of Dante Wilson.

This Court has supplemental jurisdiction over Plaintiff-Intervenors’ claims

pursuant to 28 U.S.C. § 1367.

                         III.     Plaintiff-Intervenor Parties

      4.     Plaintiff-Intervenor Cashe Smith is a child/descendant of Dante

Wilson.

      5.     Plaintiff-Intervenor Dante Wilson, Jr. is a child/descendant of Dante

Wilson.

      6.     Plaintiff-Intervenor Dantecia Wilson is a child/descendant of Dante

Wilson.

      7.     Plaintiff-Intervenor Kejuan Hill is a child/descendant of Dante Wilson.

      8.     Plaintiff-Intervenor Nateisha Smith is a child/descendant of Dante

Wilson.

      9.     Plaintiff-Intervenor Sasha Reed is a child/descendant of Dante Wilson.

                                IV.         Statement of Facts
      Case: 3:17-cv-00737-wmc Document #: 16 Filed: 01/30/18 Page 3 of 4




      10.    Plaintiff-Intervenors join in, and incorporate by reference, all factual

allegations made in the original complaint, filed by Special Administrator Judy

Wilson.

                              V.      Statement of Claim

                                     Wrongful Death

      11.    Wisconsin Statute § 895.04 affords the Plaintiff-Intervenors the right

to bring claims for the wrongful death of their father, Dante Wilson.

      12.    The operative facts of Dante Wilson’s death, as set forth by the

complaint of Special Administrator Judy Wilson, and incorporated herein by

reference, demonstrate that Defendants conduct was a substantial factor in, and

caused, Mr. Wilson’s death.

      13.    For the conduct as alleged in the complaint of Special Administrator

Judy Wilson, and incorporated herein by reference, under Wis. Stat. § 895.04,

Defendants are liable to Plaintiff-Intervenors for causing the wrongful death of

their father, Dante Wilson.

                               VI.     Prayer for Relief

WHEREFORE, Plaintiff-Intervenors respectfully demand a jury trial and prays

that this court:

      1.     Enter judgment for Plaintiff-Intervenors, and against each
             defendant, jointly and severally, awarding compensatory and
             punitive damages against each defendant.

      2.     Award such other relief as may be just and equitable.


Dated this 30th day of January, 2018.
Case: 3:17-cv-00737-wmc Document #: 16 Filed: 01/30/18 Page 4 of 4




                                           GINGRAS, CATES & WACHS

                                                    8150 Excelsior Drive
                                                     Madison, WI 53717
                                                         (608) 833-2632


                                               BY: s/Paul A. Kinne
                                                 Attorney Paul A. Kinne
                                                  State Bar No. 1021493
                                             Attorney Scott B. Thompson
                                                  State Bar No. 1098161
                                                   Attorneys for Plaintiff
